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17
                                UNITED STATES DISTRICT COURT
18
                               NORTHERN DISTRICT OF CALIFORNIA
19
                                    SAN FRANCISCO DIVISION
20
      IN RE GOOGLE PLAY STORE                       Case No. 3:21-md-02981-JD
21    ANTITRUST LITIGATION
                                                    DECLARATION OF LAUREN N. BECK
22    THIS DOCUMENT RELATES TO:                     IN SUPPORT OF DEFENDANTS’
                                                    NOTICE OF FILING
23    Epic Games Inc. v. Google LLC et al., Case    Judge:     Hon. James Donato
      No. 3:20-cv-05671-JD
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                      BECK DECLARATION IN SUPPORT OF DEFS’ NOTICE OF FILING
                              Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
     Case 3:21-md-02981-JD            Document 1004-1        Filed 08/19/24      Page 2 of 3




 1
                                 DECLARATION OF LAUREN N. BECK
 2
            I, Lauren N. Beck, hereby declare:
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            1.      I am an attorney at the law firm of Munger, Tolles & Olson LLP and counsel of
 4
     record for Defendants in the above-captioned matters. I have personal knowledge of the facts set
 5
     forth in this declaration, and, if called as a witness, I could and would testify competently to the
 6
     matters set forth herein
 7
            2.      Attached hereto as Exhibit A is a true and correct copy of the slides Google
 8
     submitted to the Court on August 14, 2024, in connect with Google’s closing argument regarding
 9
     remedies.
10
            I declare under penalty of perjury under the laws of the United States of America that the
11
     foregoing is true and correct.
12
            Executed on this 19th day of August, 2024, at Los Angeles, California.
13

14
                                                          /s/ Lauren N. Beck
15                                                      Lauren N. Beck
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                        BECK DECLARATION IN SUPPORT OF DEFS’ NOTICE OF FILING
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
     Case 3:21-md-02981-JD        Document 1004-1        Filed 08/19/24     Page 3 of 3




 1                                    E-FILING ATTESTATION

 2         I, Lauren N. Beck, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that counsel for

 4 Defendants have concurred in this filing.

 5

 6                                                            /s/ Lauren N. Beck
 7                                                       Lauren N. Beck

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                      BECK DECLARATION IN SUPPORT OF DEFS’ NOTICE OF FILING
                              Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
